8:11-cr-00114-LES-FG3   Doc # 82   Filed: 09/21/11   Page 1 of 1 - Page ID # 347



               IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                  8:11CR114
                              )
          v.                  )
                              )
GERARDO CHAVEZ-MUNOZ,         )                      ORDER
                              )
               Defendant.     )
______________________________)


          This matter is before the Court on defendant’s motion

to extend time (Filing No. 80).       The Court notes plaintiff has no

objection and finds the motion should be granted.             Accordingly,

          IT IS ORDERED:

          1) The motion is granted; defendant shall have until

September 26, 2011, to comply with Paragraph 6 of the order on

sentencing schedule.

          2) Sentencing in this matter is rescheduled for:

                Tuesday, October 12, 2011, at 9:30 a.m.

Courtroom No. 5, Roman L. Hruska United States Courthouse, 111

South 18th Plaza, Omaha, Nebraska.

          DATED this 21st day of September, 2011.

                                   BY THE COURT:

                                   /s/ Lyle E. Strom
                                   ____________________________
                                   LYLE E. STROM, Senior Judge
                                   United States District Court
